                                   Case 2:21-cv-01031-RFB-EJY Document 20 Filed 12/22/21 Page 1 of 3



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                               7   REPUBLIC SILVER STATE DISPOSAL, INC.

                               8
                                                                 UNITED STATES DISTRICT COURT
                               9
                                                                         DISTRICT OF NEVADA
                         10

                         11
                                   MICHAEL MILLER,                                       Case No. 2:21-cv-01031-RFB-EJY
                         12
                                                    Plaintiff,
                         13
                                   v.                                                    NOTICE OF RELATED CASES
                         14                                                              PURSUANT TO LOCAL RULE 42-1
                                   REPUBLIC SILVER STATE DISPOSAL,
                         15        INC., a domestic corporation; and DOES 1-50,

                         16                         Defendant.

                         17

                         18        TO THE COURT AND TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

                         19                  Defendant REPUBLIC SILVER STATE DISPOSAL, INC. d/b/a REPUBLIC SERVICES

                         20        OF SOUTHERN NEVADA (“Republic Services”) hereby submits to the Court this Notice of

                         21        Related Cases pursuant to Local Rule 42-1. The cases below are based on the same or similar

                         22        claims and involve similar questions of fact and similar questions of law. The plaintiff in each of

                         23        the cases below is the same, and he makes allegations about the same event concerning the

                         24        termination of his employment from Defendant Republic Services, which is a Defendant in both

                         25        actions. Accordingly, assignment to the same district and magistrate judge 1 is desirable to ensure

                         26        uniform decisions and to conserve judicial resources.

                         27

                         28        1
                                       The matters are already assigned to the same district judge.
LITTLER MEND ELSO N P.C.
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                                   Case 2:21-cv-01031-RFB-EJY Document 20 Filed 12/22/21 Page 2 of 3



                               1      •   2:21-cv-01031-RFB-EJY – Miller v. Republic Services

                               2      •   2:21-cv-01693-RFB-NJK – Miller v. International Brotherhood of Teamsters, Local 631
                                          and Republic Services
                               3

                               4          Additionally, in Miller v. Republic Services, 2:21-cv-01031-RFB-EJY, the parties

                               5   participated in an Early Neutral Evaluation session with Magistrate Judge Nancy Koppe on

                               6   September 30, 2021 (ECF No. 15). Judge Koppe is the assigned magistrate judge in Miller v.

                               7   International Brotherhood of Teamsters, Local 631 and Republic Services, 2:21-cv-01693-RFB-

                               8   NJK.

                               9   Dated: December 22, 2021
                                                                                   LITTLER MENDELSON, P.C.
                         10

                         11
                                                                                   /s/ Diana G. Dickinson
                         12                                                        ETHAN D. THOMAS, ESQ.
                                                                                   DIANA G. DICKINSON, ESQ.
                         13
                                                                                   Attorneys for Defendant
                         14                                                        REPUBLIC SILVER STATE DISPOSAL,
                                                                                   INC.
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                                   Case 2:21-cv-01031-RFB-EJY Document 20 Filed 12/22/21 Page 3 of 3



                               1                                          PROOF OF SERVICE

                               2            I am a resident of the State of Nevada, over the age of eighteen years, and not a party to the

                               3   within action. My business address is 3960 Howard Hughes Parkway, Suite 300, Las Vegas,

                               4   Nevada 89169. On December 22, 2021, I served the within document(s):

                               5                   NOTICE OF RELATED CASES PURSUANT TO LOCAL RULE 42-1
                               6            By CM/ECF Filing – Pursuant to FRCP 5(b)(3) and LR 5-1, the above-referenced
                                     
                                            document was electronically filed and served upon the parties listed below through the
                               7
                                            Court’s Case Management and Electronic Case Filing (CM/ECF) system:
                               8
                                      Daniel R. Watkins
                               9      Michael A. DiRenzo
                                      WATKINS & LETOFSKY, LLP
                         10           8935 S. Pecos Rd., Ste. 22A
                         11           Henderson, NV 89074
                                      Email: dw@wl-llp.com
                         12                  mdirenzo@wl-llp.com

                         13           Attorneys for Plaintiff
                         14
                                            I am readily familiar with the firm's practice of collection and processing correspondence
                         15
                                   for mailing and for shipping via overnight delivery service. Under that practice it would be
                         16
                                   deposited with the U.S. Postal Service or if an overnight delivery service shipment, deposited in an
                         17
                                   overnight delivery service pick-up box or office on the same day with postage or fees thereon fully
                         18
                                   prepaid in the ordinary course of business.
                         19
                                            I declare under penalty of perjury that the foregoing is true and correct. Executed on
                         20
                                   December 22, 2021, at Las Vegas, Nevada.
                         21

                         22
                                                                                       /s/ Yvonne Feher
                         23                                                           Yvonne Feher
                         24        4889-5208-9862.1 / 068119-2241

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